                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                     1:25-cv-01015-RCL
                                                       Filed On: May 28, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145
                                                                     1:25-cv-00887-RCL


Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants


                                         ORDER

       Upon consideration of the May 22, 2025 order in the above-captioned cases,
which indicated that statements concerning that order would follow at a later time,
                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024

attached are statements of Chief Judge Srinivasan and Circuit Judge Pillard. Circuit
Judges Millett, Pillard, Wilkins, Childs, Pan, and Garcia join in the statement of Chief
Judge Srinivasan.




                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk




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    SRINIVASAN, Chief Judge, respecting the denial of
reconsideration en banc:

     In arguing against en banc reconsideration of the panel’s
stay of provision (1) of the district court’s preliminary
injunction while these appeals are pending, the government
relies on the continued operation of provision (3) of the
preliminary injunction. See Gov’t En Banc Resp. 1, 8–9. That
provision, which remains unstayed, requires the government to
restore Voice of America (VOA) programming so as to fulfill
VOA’s statutory mandate. Id. at 3–4. Although the
government relies on the continued operation of provision (3),
the government also asserts that the district court lacks any
authority under that provision “to order personnel actions
beyond those that the [government itself] determines are
necessary or appropriate to carry out its statutory mandate.” Id.
at 7. The court’s denial of en banc reconsideration of course
should not be understood to accept or treat with the
government’s assertion in that regard. Rather, insofar as the
issue may arise in further proceedings in the district court, that
court presumably would consider it in the first instance.
     PILLARD, Circuit Judge, respecting the denial of
reconsideration en banc:         Even as we deny further
consideration of the stay order, I remain convinced that the
panel should not have entered an emergency stay of the district
court’s preliminary injunction. See Widakuswara v. Lake, No.
25-5144, 2025 WL 1288817, at *6-16 (D.C. Cir. May 3, 2025)
(Pillard, J., dissenting). Yet the standard for the full court’s
intervention is unmet because nothing in the panel’s stay order
prevents the district court from enforcing the unchallenged
prong 3 of the injunction, which requires defendants to “restore
VOA programming such that USAGM fulfills its statutory
mandate that VOA ‘serve as a consistently reliable and
authoritative source of news,’” as mandated by 22 U.S.C.
§ 6202(c). Widakuswara v. Lake, No. 25-cv-1015, 2025 WL
1166400, at *18 (D.D.C. Apr. 22, 2025). As the dissenting
member of the emergency panel, I write briefly to provide
context for the en banc court’s action and explain how it
squares with my understanding of the district court’s remedial
authority.

     Plaintiffs challenged the decision to “shutter[] VOA and
forc[e] it off the air” in contravention of “statutes which require
that VOA continue producing and broadcasting news that
meets high editorial standards.” Abramowitz Compl. ¶ 122.
The district court confirmed its own jurisdiction and held it
likely that the agency acted arbitrarily under the APA in halting
VOA’s operation. Widakuswara, 2025 WL 1166400, at *11-
14. Indeed, it was “hard to fathom a more straightforward
display of arbitrary and capricious actions.” Id. at *14. A panel
of this court granted defendants’ motion for an emergency stay
without opining on the action’s arbitrariness, however, because
it deemed defendants likely to succeed on jurisdictional
grounds. See Widakuswara, 2025 WL 1288817, at *2-3.

     Given its holdings of likelihood that it has jurisdiction, and
that the agency acted arbitrarily in shutting down VOA, the
district court did not abuse its discretion when it provisionally
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“set aside” that action, 5 U.S.C. § 706(2), by preliminarily
enjoining the agency to revert to the pre-violation status quo,
Widakuswara, 2025 WL 1166400, at *13-15. Cf. Bhd. of
Locomotive Eng'rs & Trainmen v. Fed. R.R. Admin., 972 F.3d
83, 117 (D.C. Cir. 2020) (“Vacatur is the normal remedy when
we are faced with unsustainable agency action.”) (internal
quotation marks omitted). Requiring an agency to undo an
arbitrary action is standard fare.

     The district court accordingly ordered reinstatement of
employees and contractors to restore the status quo ante,
thereby preventing irreparable harm to the plaintiffs and
serving the public interest. VOA had stopped broadcasting,
and its website had not been updated in over a month.
Widakuswara, 2025 WL 1166400, at *3. The court found that
the agency’s action “dismantling [the] human infrastructure
required to run USAGM [and] VOA” would “halt agency
function in the short term and threaten the efficacy of the
agency in the long-term.” Id. at *16 (quoting March 28 TRO,
Widakuswara v. Lake, No. 25-cv-02390 (S.D.N.Y. Mar. 28,
2025)). Once the panel stayed the preliminary injunction,
approximately 584 of VOA’s personal service contractors
(97% of the total) received termination notices dated May 15
with effective dates between May 21 and May 30. Abramowitz
Supp. Decl. (May 16, 2025) ¶¶ 1-2. Plaintiffs aver that, “if
allowed to become effective,” the termination of these personal
service contractors “will make it impossible for VOA to carry
out its daily operations.” Id. ¶ 9.

     Defendants have not challenged the district court’s
findings of irreparable harm, and their own claim of harm is
unpersuasive. They assert that the district court has impeded
their control over employment decisions and failed to account
for the costs of restoring the VOA employees to work. Gov’t
En Banc Resp. 12. But the government cannot complain of
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costs it imposes on itself through unlawful action. See
Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976). The
balance of hardships therefore favors the plaintiffs. So, too,
does the public interest: Congress established VOA and gave
it an explicit statutory mandate to provide “reliable[,]
authoritative, accurate, objective, and comprehensive” news.
22 U.S.C. § 6202(b)(1).

     That brings us to the nub of the denial of en banc relief,
which is whether the first prong of the district court’s
preliminary injunction was “mismatch[ed]” to the violation.
Gov’t En Banc Resp. 1. Under prong 1, the agency must “take
all necessary steps to return USAGM employees and
contractors to their status prior to the March 14, 2025,
Executive Order 14238 . . . including by restoring all USAGM
employees and personal service contractors, who were placed
on leave or terminated, to their status prior to March 14, 2025.”
Widakuswara, 2025 WL 1166400, at *18. In my view, that
provision was well tailored to the defendants’ arbitrary and
unlawful action.

     First, the district court acted with full cognizance of and
respect for the agency’s discretion to decide, within legal
bounds, how many employees and personal service contractors
it needs to carry out lawful policy reform. As the court
explained, “the injunction does not prevent USAGM from
executing personnel decisions,” or taking other actions
regarding employee relations, contract negotiations, or contract
terminations, “pursuant to its statutory mandate and in
compliance with the APA.” Order Denying Stay 5 & n.1, No.
25-cv-1015 (D.D.C. Apr. 25, 2025) [ECF No. 104] [hereinafter
Order Denying Stay]. The court expressly disavowed fixing
the previous staffing of VOA as the “benchmark for minimum
statutory compliance.” Id. at 5.
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     Second, given that the government had not proposed any
narrower injunction, it is unclear what else the district court
could have done. While “an injunction must be narrowly
tailored to remedy the harm shown,” “[t]hat principle . . . does
not require district courts enjoining unconstitutional
government policies to fashion narrower, ostensibly
permissible policies from whole cloth” where, as here, the
government has framed no alternative. J.D. v. Azar, 925 F.3d
1291, 1335 (D.C. Cir. 2019). The court is not required to guess
what nonarbitrary policy the administration might adopt to
restore VOA programming and fulfill the agency’s statutory
mandate.

     Third, the government argues that the continued vitality of
prong 3 of the preliminary injunction renders prong 1 fatally
overbroad. The very same argument was made to the district
court, which—permissibly, in my view—rejected it. See Order
Denying Stay 2. With no policy before it for operating VOA
in a new and streamlined manner, the court had nothing but the
status quo ante against which to tailor its order.

     Fourth, the preliminary injunction, as the district court
explained, “is a stopgap measure . . . intended to maintain a
status quo.” Order Denying Stay 5 (citation omitted).
Defendants assert in their briefing to us that the challenged
relief is unnecessary because they have started to bring back
“some” VOA employees. Gov’t En Banc Resp. 7-8. But they
have made no such factual showing. And, unless the Court of
Appeals is ready to assume the role of the district courts, we
should not decide such questions in advance of presentation to
and decision by the district judge.

     In view of all the district court did to support and tailor the
relief it granted, I would not have stayed prong 1 of the district
court’s preliminary injunction. That said, en banc review is not
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a mere error-correction mechanism. And, in any event, this
court has not limited the district court’s remedial options going
forward. The district judge retains the power to require the
agency’s compliance with its statutory obligations. See Nat’l
Ass’n of Regul. Util. Comm’rs v. U.S. Dep’t of Energy, 680
F.3d 819, 820 (D.C. Cir. 2012), and 736 F.3d 517, 520-21
(D.C. Cir. 2013). And he has authority to modify the
preliminary injunction as circumstances develop, even while
the appeal of the preliminary injunction is pending. FED. R.
CIV. P. 62(d). I have confidence that Judge Lamberth can and
will afford fitting relief so that defendants meet their
acknowledged obligation to ensure that VOA operates
consistently with the International Broadcasting Act, including
22 U.S.C. § 6202 and 6204(b).

     Because the government has repeatedly emphasized its
broad discretion to determine what levels of staffing are
necessary at VOA, I add a note of caution. While the agency
does have discretion regarding how it discharges its statutory
responsibilities, that discretion is neither boundless nor
shielded from judicial review and remediation. It is a basic rule
of our constitutional system that “the President may not decline
to follow a statutory mandate or prohibition simply because of
policy objections.” In re Aiken Cnty., 725 F.3d 255, 259 (D.C.
Cir. 2013) (Kavanaugh, J.). The courts bring their full
authority to bear in reviewing claims that executive actors have
“disregard[ed] . . . statutory obligations that apply to the
Executive Branch” or refused “to follow a law imposing a
mandate or prohibition on the Executive Branch.” Id. at 266.
Nothing in the action of the en banc court changes that.
